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Susman Godfrey l.l.p.

January 16, 2025
Hon. Ona T. Wang
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:     The New York Times Company v. Microsoft Corporation, et al.,
                       No.: 23-cv-11195-SHS: Opp. to OpenAI’s Motion to Compel, ECF 393
Dear Magistrate Judge Wang:
        At the December 3 conference, the Court made clear it expected the parties to meet and
confer further regarding OpenAI’s request to add David Rubin, Michael Greenspon, Hannah
Masuga, and Sam Dolnick as custodians. Rather than doing so, and without any attempt to
compromise or narrow the issues in dispute, OpenAI notified Plaintiffs on January 9, that it
planned to “renew” its motion regarding these four individuals. It further seeks documents from
two additional custodians (Justin Heideman and Elijah Soria) that are duplicative of existing
custodians, and to expand the date range for all Times custodians by four years, all without regard
to relevance, burden, or proportionality. The four custodians OpenAI previously requested are no
more appropriate now than they were in December; and OpenAI’s rationale for requesting these
further custodians includes to obtain discovery into “The Times’s AI strategy” and ways it can use
AI, topics the Court has already ruled to be irrelevant.
        OpenAI’s motion discusses at length The Times’s market cap, the size of its IT department,
and the considerable resources it has spent on this litigation, but says little about why the discovery
it seeks is proportionate and non-duplicative of existing custodians. The Court should deny
OpenAI’s motion at ECF 393.
   1. OpenAI Provides No Basis for Compelling Previously-Sought Custodians.
       OpenAI misrepresents The Times’s arguments against adding Rubin, Greenspon, Masuga,
and Dolnick as custodians, claiming that at the December 3 hearing The Times’s “principle
argument . . . was burden.” ECF 393 at 1. That is incorrect. The Times argued that OpenAI has not
demonstrated why the addition of these custodians is proportionate to the needs of the case given
that The Times has designated numerous custodians with documents relevant to the discovery
OpenAI claims to need. See ECF 330; ECF 393-5 (12/3 Hearing Trans.) at 37:1–21. Its renewed
motion and the attached exhibits still fail to do so.
        For example, OpenAI describes Dolnick and Rubin as members of “a core group tasked
with prepping for meetings with OpenAI and setting The Times’s AI strategy,” ECF 393 at 1 n.2
(citing Ex. D); but, as The Times previously explained, all relevant licensing work related to
generative AI runs through existing custodians Sam Felix and Rebecca Grossman-Cohen, who led
The Times’s negotiations with OpenAI and Microsoft, ECF 330 at 2. Indeed, four members of the
“core group” listed on this email, as OpenAI frames them, are already custodians (Poferl,
Hardiman, Grossman-Cohen, and Felix). OpenAI makes no attempt to explain why these
custodians are insufficient. And OpenAI’s argument that it is entitled to discovery into The
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Times’s broader “AI strategy” has already been rejected in this Court’s November 22 and
December 2 Orders. ECFs 344, 353, 355.
        Similarly, OpenAI attaches to its motion two meeting invitations, though it makes no
attempt to explain how they support its argument. One of those includes four current custodians
(Grossman-Cohen, Sobel, Hardiman, and Poferl (ECF 393, Ex. B)), and the other includes five
(Levien, Grossman-Cohen, Sulzberger, Hardiman, and Brayton (ECF 393, Ex. C)). If OpenAI’s
point is that it needs custodians who participated in these calls, it has them in spades.
       Finally, OpenAI cites to an email from Greenspon in which he states that an upcoming
meeting will consider “how licensing can use AI to drive our business” as support for adding
Greenspon as a custodian. ECF 393 at 1 n.2 (citing Ex. A). This argument again disregards the
Court’s ruling on the scope of permissible discovery. ECF 344, at 5.
       OpenAI cites no new reason to add Masuga, and The Times has already explained why
doing so is not proportionate. See ECF 330 at 2–3.
        Without a substantive basis for requesting the addition of these custodians, OpenAI resorts
to mischaracterizing The Times’s positions and discovery efforts and taking statements from The
Times’s CTO Jason Sobel out of context. This is an unnecessary side show. The Times explained
in December that collecting from these custodians would delay its collection of other agreed-upon
custodians. The Times has completed those custodial collections for most sources 1; the parties
have been actively negotiating search terms and custodians; and The Times is working through the
more than 100,000 custodial documents currently batched for review—a number that will continue
to expand once the parties reach agreement on the additional search terms currently under
negotiation. Nothing about The Times’s conduct (including the millions of dollars, highlighted by
OpenAI, that The Times has spent to litigate this case) supports OpenAI’s accusations of
“shirking.” It also does not support compelling the addition of four duplicative and unnecessary
custodians. The Court should deny OpenAI’s request that it do so.
      2. OpenAI Does Not Provide a Basis to Add Heideman and Soria.
        OpenAI’s request to add two software engineers, Heideman and Soria, as custodians for
search terms targeting the “operation of The Times’s paywall, webmaster controls, and exclusion
protocols” should be denied based on the existing custodians and the data to which OpenAI has
access. In particular, existing custodians Hannah Poferl (Chief Data Officer & Head of Audience),
Christine Liang (Senior Director of Search Engine Optimization), and Sam Felix (VP & Head of
Platform Strategy and Strategic Generative AI Partnerships) are knowledgeable on the same topics
(and were disclosed by The Times as such, see 393-9 at Resp. 7 & 8).
       OpenAI highlights its claim that “The Times has not yet produced ‘documents sufficient
to show the time periods during which The Times implemented Exclusion Protocols on [its]
website,’” arguing that this “issue can be traced to The Times’s designation of custodians.” ECF
393. OpenAI is mistaken for multiple reasons. As an initial matter, The Times is continuing to

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    The Times ran into technical issues with its Slack pulls that it has worked with its outside vendor to address.
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produce documents from the agreed-upon custodians. But more importantly, it is grossly
inefficient to try to discover the implementation of The Times’s robots.txt protocol via the “day-
to-day discussions” OpenAI seeks in its motion. The Times has already agreed to produce non-
custodial documents reflecting this information. For instance, The Times’s products and
engineering teams use a software program, Jira, to track and assign work, with each task being
represented by a “ticket.” The Times has produced the Jira tickets hitting on “robots.txt” going
back to 2012, which speak to things like adding new robots files to subdomains, adding new
disallow/allow rules, and disallowing specific crawlers. Ex. A (excerpt of NYT_00692315). And
finally, The Times’s historic robots.txt pages are publicly available: searching the Internet Archive
for “nytimes.com/robots.txt” pulls up tens of thousands of screenshots of The Times’s robots.txt
page, spanning from January 16, 1999 to the present. See, e.g., Ex. B (1/16/99 screenshot).
   3. A Blanket Collection from 2018 is Disproportionate to the Needs of the Case.
        The parties first negotiated search terms, custodians, and date ranges for collection in July
2024. As part of those negotiations, The Times represented that it would collect documents from
its custodians beginning in 2022 (ChatGPT was publicly released in November 2022), and
Defendants did not object to that proposal. The Times then collected documents from its custodians
from the start of 2022 through May 1, 2024. Subsequently, months later, OpenAI sought to reopen
negotiations regarding the timeframe for collection. It demanded that The Times go back and re-
collect documents from specific existing custodians, and The Times did so. OpenAI’s yet further
demand that The Times conduct a blanket collection of an additional four years of its custodians’
documents is unjustified.
        OpenAI claims it is entitled to “communications” regarding “OpenAI’s alleged
misconduct” prior to November 2022 from all “relevant custodians,” without specifying who it
believes those are. As OpenAI concedes, The Times has agreed to produce documents going back
to 2018 for several of its high-ranking employees. ECF 393 at 3 n.7. To avoid the significant
burden of re-collecting from existing custodians, The Times further offered to work with other
requested custodians to directly run searches in their email for terms like “OpenAI” and
“ChatGPT” for the period prior to 2022. OpenAI did not respond to that offer. The Times maintains
that a full custodial collection for all or most custodians extending four years prior to the public
release of ChatGPT–which made OpenAI a “viral sensation,” Compl. ¶61–makes no sense.
        With respect to evidence of impact on The Times, OpenAI has documents relevant to its
misconduct from well before 2022, when it surreptitiously used millions of The Times’s works to
develop its products; but, because much of this unlawful activity came before the public release of
OpenAI’s GPT product in 2022, The Times is not likely to have custodial documents relevant to
impact from this earlier period. The Times is already producing non-custodial documents related
to the harm it incurred—documents related to revenue, subscriptions, and web traffic—going back
to 2018 and, in some instances 2015. With regard to custodians’ communications, the Court has
already denied Defendants’ motion to compel additional communications on exactly these topics.
See ECFs 351–352 (denying motions to compel communications related to, e.g., changes to The
Times’ revenue, subscriptions, and web traffic).
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                                                Respectfully submitted,

                                                /s/ Ian B. Crosby
                                                Ian B. Crosby
                                                Susman Godfrey L.L.P.

                                                /s/ Steven Lieberman
                                                Steven Lieberman
                                                Rothwell, Figg, Ernst & Manbeck

 cc:   All Counsel of Record (via ECF)
